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            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                    JONESBORO DIVISION

DAVID GRIGSBY, as Personal Representative
of the Estate of William Leonard, Deceased;
and on Behalf of the Wrongful Death
Beneficiaries of William Leonard                              PLAINTIFF

v.                       No. 3:16-cv-217-DPM

JONESBORO HEALTH AND REHAB LLC;
ARKANSAS SNF OPERATIONS
ACQUISITION LLC; and ARKANSAS
NURSING HOME ACQUISITION LLC                              DEFENDANTS



                             JUDGMENT

     The complaint is dismissed with prejudice.
